     Case 8:09-cv-01881-RAL-TBM Document 1 Filed 09/14/09 Page 1 of 5 PageID 1




                           THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


RICHARD O’CONNOR,

         Plaintiff,                                     CASE NO.

v.

PENNCRO ASSOCIATES, INC.,

      Defendant.
_____________________________________/

                                            COMPLAINT

         COMES NOW the Plaintiff, RICHARD O’CONNOR (“Plaintiff”), by and through his

attorneys, KROHN & MOSS, LTD., and for Plaintiff’s Complaint against Defendant,

PENNCRO ASSOCIATES, INC., alleges and affirmatively states as follows:

                                         INTRODUCTION
         1.       Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices

Act, 15 U.S.C. 1692 et seq. (FDCPA).

                                  JURISDICTION AND VENUE
         2.       Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

such actions may be brought and heard before “any appropriate United States district court

without regard to the amount in controversy.”

         3.       Because Defendant conducts business in the state of Florida, personal jurisdiction

is established.

         4.       Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

         5.       Declaratory relief is available pursuant to 28 U.S.C. 2201 and 2202.




                                    VERIFIED COMPLAINT                                              1
 Case 8:09-cv-01881-RAL-TBM Document 1 Filed 09/14/09 Page 2 of 5 PageID 2




                                             PARTIES
       6.      Plaintiff is a natural person who resides in the City of Clearwater, Pinellas

County, Florida.

       7.       Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and

according to Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C.

1692a(5).

       8.      Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and

sought to collect a consumer debt from Plaintiff.

       9.      Plaintiff is informed and believes, and thereon alleges, that Defendant is a

national company with a business office in Southampton, Pennsylvania.

       10.     Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                  FACTUAL ALLEGATIONS
       11.     Defendant constantly and continuously places collection calls to Plaintiff’s

parents seeking and demanding payment for an alleged consumer debt owed.

       12.     Defendant contacted Plaintiff’s parents and disclosed the nature and existence of

Plaintiff’s alleged consumer debt.

       13.     Plaintiff’s mother advised Defendant that Plaintiff did not live at the residence.

       14.     Defendant then threatened Plaintiff’s mother while continuing to seeking

payment for the alleged consumer debt.


                              COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT,
                    (FDCPA), 15 U.S.C. § 1692 et seq.

       13.     Defendant violated the FDCPA. Defendant’s violations include, but are not

limited to, the following:

       a).     Defendant violated §1692b(2) of the FDCPA by contacting a third party and


                                   VERIFIED COMPLAINT                                                   2
 Case 8:09-cv-01881-RAL-TBM Document 1 Filed 09/14/09 Page 3 of 5 PageID 3




stating Plaintiff owes an alleged consumer debt.

       b).     Defendant violated §1692b(3) of the FDCPA by contacting a third party more

than once.

       c).     Defendant violated §1692c(B) of the FDCPA by communicating with someone

other than consumer concerning the alleged consumer debt.

       d).     Defendant violated §1692d of the FDCPA by engaging in conduct the natural

consequence of which is to harass, oppress, and abuse Plaintiff.

       e).     Defendant violated §1692d(5) of the FDCPA by causing the telephone to ring or

engage any person in telephone conversations repeatedly.

       f.)     Defendant violated §1692e(10) of the FDCPA by the use of false

representation(s) and/or deceptive mean(s) to collect and alleged debt.

       i).     Defendant violated §1692f of the FDCPA by engaging in false, deceptive, and

misleading representations and means in connection with the debt collection.

       14.     As a consequence of Defendant’s foregoing actions, Plaintiff has suffered from

stress, anxiety, and humiliation.


       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       15. Declaratory judgment that the Defendant’s conduct violated the Federal Act, FDCPA.

       16. Actual damages.

       17. Statutory damages pursuant to the Federal Act, 15 U.S.C. 1692k.

       18. Costs and reasonable attorney’s fees pursuant to the Federal Act, 15 U.S.C. 1692k.

       19. Any other relief that this court deems to be just and proper.




                                    VERIFIED COMPLAINT                                          3
 Case 8:09-cv-01881-RAL-TBM Document 1 Filed 09/14/09 Page 4 of 5 PageID 4




                                           RESPECTFULLY SUBMITTED,



                                       By: _/s/ Matthew Kiverts___
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                          DEMAND FOR JURY TRIAL

        PLEASE TAKE NOTICE that Plaintiff, RICHARD O’CONNOR, hereby demands trial
by jury in this action.




                            VERIFIED COMPLAINT                                  4
Case 8:09-cv-01881-RAL-TBM Document 1 Filed 09/14/09 Page 5 of 5 PageID 5
